Case: 3:17-cv-00036-GFVT-EBA Doc #: 25 Filed: 05/21/18 Page: 1 of 1 - Page ID#: 93



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                      FRANKFORT

  MARCELLA KELLY and                               )
  NATHAN KELLY,                                    )
                                                   )          Case No. 3:17-cv-00036-GFVT
        Plaintiffs,                                )
                                                   )
  V.                                               )
                                                   )                    ORDER
  NISSAN MOTOR ACCEPTANCE                          )
  CORPORATION,                                     )
                                                   )
        Defendant.
                                       ***   ***       ***   ***

        Plaintiffs Marcella Kelly and Nathan Kelly, along with Defendant Nissan Motor

 Acceptance Corporation, provided joint notice to this Court that they wish to dismiss with

 prejudice all claims asserted by the Plaintiffs against the Defendant, pursuant to Fed. R. Civ. Pro.

 41(a)(1)(A)(ii). [R. 24.] On the basis of this representation, it is hereby ORDERED all claims

 of Plaintiffs Marcella Kelly and Nathan Kelly against Defendant Nissan Motor Acceptance

 Corporation, are hereby DISMISSED WITH PREJUDICE with each party to bear their own

 costs, fees, and expenses. This matter SHALL be stricken from the Court’s active docket.

        This the 21st day of May, 2018.
